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   17
                                UNITED STATES DISTRICT COURT
   18
                              CENTRAL DISTRICT OF CALIFORNIA
   19

   20   FLO & EDDIE, INC., a California             Case No. 2:14-cv-07648-PSG (GJSx)
        corporation, individually and on behalf
   21   of all others similarly situated,      PLAINTIFF’S MEMORANDUM OF
                                               POINTS AND AUTHORITIES IN
   22                               Plaintiff, OPPOSITION TO DEFENDANT
                                               PANDORA MEDIA, LLC’S
   23         v.                               MOTION FOR SUMMARY
                                               JUDGMENT
   24   PANDORA MEDIA, LLC, a Delaware
        corporation; and DOES 1 through 100,
   25                                          Date:    April 14, 2023
                                  Defendant. Time:      1:30PM
   26                                          Place:   Courtroom 6A
                                               Judge:   Hon. Philip S. Gutierrez
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    1                                     INTRODUCTION
    2         Pandora operates its streaming service by making and disseminating hundreds
    3   of unauthorized digital copies of pre-1972 recordings to server locations across
    4   California and the country. In its order denying Pandora second anti-SLAPP motion,
    5   the Court held that this evidence—in other words, the evidence of Pandora’s
    6   unauthorized copying—was independently sufficient to establish a prima facie case
    7   for relief under California law. See Dkt. 115 (“Furthermore, Pandora does not address
    8   Flo & Eddie’s allegations of unauthorized copying.”). Though it did not reach the
    9   merits, the Ninth Circuit affirmed that order, and in doing so “direct[ed]” this Court
   10   to consider whether “intervening precedent” affected the “legal validity of Flo &
   11   Eddie’s claims.” Flo & Eddie, Inc. v. Pandora Media, LLC (“Pandora III”), No. 20-
   12   56134, 2022 WL 1800780 at *2 (9th Cir. June 2, 2022). The answer to the Ninth
   13   Circuit’s directive is no: There has been no intervening precedent since the Court’s
   14   denial of Pandora’s second anti-SLAPP motion that impacts Flo & Eddie’s
   15   entitlement to relief.
   16         The sole intervening authority is the Ninth Circuit’s 2021 decision in Flo &
   17   Eddie, Inc. v. Sirius XM Radio (“Sirius (9th Cir.)”), 9 F.4th 1167 (9th Cir. 2021), a
   18   decision that left Flo & Eddie’s claims of unauthorized copying untouched. Sirius
   19   (9th Cir.) held that California does not recognize an exclusive public performance
   20   right for sound recording owners—that is, the right to play recordings to the public.
   21   Flo & Eddie agrees that, as a result of Sirius (9th Cir.), it is not entitled compensation
   22   due to Pandora’s public performance of its recordings. But Pandora’s copying of Flo
   23   & Eddie’s recordings is a different matter altogether. Allegations of unauthorized
   24   copying were not at issue—and the Ninth Circuit did not address—any claim that
   25   Sirius XM engaged in the conduct that Pandora has done here: making tens of
   26   thousands of digital copies of pre-1972 recordings for profit. The Ninth Circuit
   27   simply ruled on the specific arguments that were put before it. See Carducci v. Regan,
   28   714 F.2d 171, 177 (D.C. Cir. 1983) (Scalia, J.) (“[C]ourts do not sit as self-directed
                                                    1
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    1   boards of legal inquiry and research, but essentially as arbiters of legal questions
    2   presented and argued by the parties before them.”).
    3         What remains clear after the Sirius (9th Cir.) decision is that unauthorized
    4   copying of pre-1972 recordings is actionable under California law. As the Sirius (9th
    5   Cir.) decision put it, “when a defendant’s reproduction . . . violates recognized
    6   property rights, such as first publication or reproduction, then courts recognize a
    7   misappropriation or conversion.” 9 F.4th at 1176. The evidence that Pandora has
    8   made thousands of copies of pre-1972 recordings is sufficient to establish a claim.
    9         Pandora disagrees. It makes the remarkable claim that it is free to engage in
   10   what effectively is bootlegging laundering:         that Pandora can makes these
   11   unauthorized copies because it then, in turn, uses them for the purpose of running its
   12   for-profit streaming service, as opposed to directly selling these bootleg copies on
   13   the open market. Pandora’s public-performance whitewashing defense to unlawful
   14   copying is not legally cognizable under California law. Indeed, California Penal Code
   15   § 653h has, since 1968, prohibited exactly what Pandora has done here: the act of
   16   unauthorized copying “for profit through public performance.” (emphasis added).
   17   Under Sirius (9th Cir.), it may be permissible to play The Turtles’s Happy Together
   18   album to the public, but it is still—and always has been—illegal to make 100 bootleg
   19   copies of it in order to play those copies at 100 music venues for profit.
   20         Pandora also raises two additional arguments, neither of which have anything
   21   to do with “intervening” precedent since the Court’s order denying Pandora’s second
   22   anti-SLAPP motion. First, Pandora argues that the Ninth Circuit’s 2017 decision in
   23   Pandora I certifying questions to the California Supreme Court is dispositive of Flo
   24   & Eddie’s claims. Flo & Eddie, Inc. v. Pandora Media, Inc. (“Pandora I”), 851 F.3d
   25   950 (9th Cir. 2017). Second, relying principally on out-of-jurisdiction Sirius
   26   decisions in New York and Florida, Pandora argues that its reproductions are fair use
   27   as a matter of law. Neither argument holds water.
   28         First, Pandora’s reliance on Pandora I makes no sense. In Pandora I, the Ninth
                                                   2
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    1   Circuit certified to the California Supreme Court the question of whether owners of
    2   pre-1972 recordings “possess an exclusive right of public performance” under
    3   California law, nothing more. Pandora I, 851 F.3d at 951 (emphasis added). No part
    4   of that decision mentions—let alone decides—whether Pandora’s unauthorized
    5   copying of pre-1972 recordings is actionable under California law. That is neither
    6   surprising nor relevant to this case now. The district court order on review in Pandora
    7   I—this Court’s order denying Pandora’s first anti-SLAPP motion on the pleadings—
    8   exclusively addressed the public performance right and did not address any claims of
    9   unauthorized copying. Since the Pandora I certification order, the parties proceeded
   10   to discovery, Flo & Eddie received for the first time Pandora’s confidential
   11   information about its copying practices, and Flo & Eddie filed an amended complaint
   12   to detail these practices and focus this case exclusively on Pandora’s unauthorized
   13   copying. Pandora’s argument, apparently, is that—before this discovery and before
   14   this amended pleading—the Ninth Circuit in Pandora I preemptively dismissed
   15   claims of unauthorized copying, but mentioned them nowhere in the certification
   16   order. This Court was obviously not persuaded by this argument when it denied
   17   Pandora’s second anti-SLAPP motion—when it held that allegations of unlawful
   18   copying independently stated a claim for relief—nor did the Ninth Circuit in
   19   affirming that denial see fit to mention Pandora I as one of the authorities this Court
   20   should consider on remand. Pandora III, 2022 WL 1800780 at *2. Simply put,
   21   Pandora I has no effect on Flo & Eddie’s copying claims.
   22         Second, Pandora cannot meet its burden on summary judgment to establish
   23   that its reproductions of pre-1972 recordings are fair use beyond a dispute of material
   24   fact. Fair use is a mixed question of law and fact and requires analysis of four factors,
   25   principal among them “the effect of the use upon the potential market for or value of
   26   the copyrighted work.” People v. Szarvas, 142 Cal. App. 3d 511, 519 (Ct. App. 1983).
   27   This factor requires factfinding regarding whether or not Pandora’s unauthorized
   28   copying inflicts “harm to the actual or potential markets for the copyrighted work.”
                                                   3
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  1   Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1200 (2021). But Pandora has no
  2   evidence about its effect on the market: Pandora’s Separate Statement of
  3   Uncontroverted Facts does not even mention the effect of its copying on the market
  4   for Flo & Eddie’s recordings. Dkt. 158. That failure of proof alone warrants denial
  5   of summary judgment. In addition, Flo & Eddie’s expert Professor Daniel Spulber,
  6   the Elinor Hobbs Distinguished Professor of International Business at
  7   Northwestern’s Kellogg School of Management, opines that Pandora’s unauthorized
  8   copying impacted the market for pre-1972 recordings by displacing record sales and
  9   cutting off a market for licensing or selling digital recordings from Flo & Eddie to
 10   streaming companies like Pandora. Nath Ex. 1 (Spulber Decl. ¶¶ 24-32). At a
 11   minimum, a rationale juror weighing Dr. Spulber’s testimony against Pandora’s
 12   failure of proof could conclude that Pandora’s copying inflicted significant harm on
 13   the market (or potential market) for Flo & Eddie recordings. That triable question
 14   also precludes summary judgment.
 15         Pandora argues that the Sirius decisions in New York and Florida require this
 16   Court to dismiss Flo & Eddie’s claims of unauthorized copying here. See Pandora’s
 17   Mem. of Law ISO MSJ (“MOL”) at 12-14; Flo & Eddie, Inc. v. Sirius XM Radio Inc.
 18   (“Sirius III (NY)”), 849 F.3d 14 (2d Cir. 2017); Flo & Eddie, Inc. v. Sirius XM Radio
 19   Inc. (“Sirius II (Fla.)”), 229 So. 3d 305(Fla. 2017). But those decisions—which are
 20   out-of-jurisdiction and address a different record under different states’ law—are
 21   neither persuasive nor relevant. Those decisions summarily held that Sirius XM’s
 22   unauthorized copying to operate its over-the-air satellite radio service was fair use
 23   under New York and Florida law. Neither decision made reference to the four fair-
 24   use factors, even though the Supreme Court has made clear that “[a]ll [the factors]
 25   are to be explored, and the results weighed together.” Campbell v. Acuff-Rose Music,
 26   Inc., 510 U.S. 569, 578 (1994) (emphasis added). And when those factors are
 27   explored, Pandora falls short of its burden on summary judgment. Unlike in the Sirius
 28   cases, Flo & Eddie here has presented detailed testimony concerning market harm.
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  1   Nor can Pandora here credibly claim refuge in statutory exemptions designed for
  2   over-the-air radio, as Sirius XM did in the New York and Florida cases. The Sirius
  3   New York and Florida cases are not controlling and distinguishable.
  4                                          *       *    *
  5         California has long protected owners of pre-1972 recordings form
  6   unauthorized reproduction. See, e.g., Cal. Civil Code § 980(a)(2). The record shows
  7   that Pandora made hundreds of unauthorized copies of Flo & Eddie recordings. That
  8   alone is sufficient to establish liability. On summary judgment, Pandora bears the
  9   burden to establish that it had the right to make these unauthorized copies as a matter
 10   of law, beyond any dispute of material fact. It has not and cannot meet that burden.
 11                                     BACKGROUND
 12   I.    FACTUAL BACKGROUND
 13         After Sirius (9th Cir.) and the passage of the Music Modernization Act of
 14   2018, this case is about the unauthorized copying of pre-1972 sound recordings
 15   between 2011 and 2018. Plaintiff Flo & Eddie Plaintiff Flo & Eddie is a California
 16   corporation owned by Mark Volman and Howard Kaylan, two of the founding
 17   members of the popular 1960s rock group The Turtles. Nath Ex. 2 (Cohen Decl. ¶¶ 3-
 18   4). Flo and Eddie is the exclusive owner of all pre-1972 sound recordings by The
 19   Turtles, including hits like Happy Together and Elenore. Nath Ex. 2 (Cohen Decl.
 20   ¶¶ 5-7).
 21         Pandora is a music streaming service that operated during the relevant period
 22   from 2011 to 2018 and continues to operate today. Flo & Eddie’s Statement of
 23   Genuine Issues (“F&E SGI”) Nos. 1-2. During the relevant period, Pandora operated
 24   its streaming service by digitally transmitting pre-1972 recordings—including pre-
 25   1972 recordings owned by Flo & Eddie—from its servers to end-users’ devices. F&E
 26   SGI No. 3. Pandora did so by making (at least) hundreds of copies of each pre-1972
 27   recording it streamed on its service. F&E SGI Nos. 14-17, 32. Pandora made a
 28   number of these digital copies in California and largely without a license. Nath Ex. 2
                                                 5
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  1   (Cohen Decl. ¶ 27); id. ¶¶ 8-10.
  2         By its own admission, Pandora’s business model depended on being able to
  3   make a massive number of temporary and permanent copies of each pre-1972
  4   recording. Pandora began by purchasing an initial copy of a CD or digital copy of a
  5   recording, then ingesting the tracks onto its systems. F&E SGI No. 9. The copying
  6   didn’t stop there. Pandora then created an “archive” copy and “back-up” copy, both
  7   of which were kept in perpetuity. F&E SGI No. 10-11. For all tracks played on its
  8   streaming service during the relevant period, which included a number of Flo &
  9   Eddie recordings,
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 14                                                          . F&E SGI No. 18. In addition
 15   to these permanent copies distributed to Pandora servers across California,
 16

 17                                                      . F&E SGI Nos. 23-26. In total,
 18   Pandora made the following unauthorized copies of Flo & Eddie’s recordings (1)
 19   initial archive and back-up copies, (2)
 20                                              , and (3)                              .
 21         Pandora made these digital copies for the purpose of operating its for-profit
 22   streaming service. Between 2011 and 2018, Pandora monetized its streaming service
 23   through both subscription revenue and advertising revenue from sponsors. F&E SGI
 24   No. 3; Nath Ex. 3 (Pandora 2012 10-k) (“[W]e generate revenue primarily from
 25   advertising. We also offer a subscription service to listeners”). While Pandora gained
 26   from its unauthorized copying, Flo & Eddie—and other owners of pre-1972
 27   recordings—lost. According to Prof. Daniel Spulber, Pandora’s copying practices
 28   harmed the market for pre-1972 recording in two ways. First, Pandora’s decision to
                                                6
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  1   make unlicensed copies of pre-1972 recordings, instead of purchasing additional
  2   copies of each recording or obtaining a license, undercut additional sales and
  3   licensing opportunities for owners of pre-1972 recordings, including Flo & Eddie.
  4   F&E SGI ¶ 41; Nath Ex. 3 (Spulber Decl. ¶¶ 24-26). Second, Pandora’s streaming
  5   service, which relied on creating multiple permanent and temporary copies of each
  6   streamed recording, displaced record sales. F&E SGI ¶ 42; Nath Ex. 3 (Spulber Decl.
  7   ¶¶ 27-32).
  8   II.   PROCEDURAL HISTORY
  9         This case was filed in October 2014. Dkt. 1. It followed a related case against
 10   Sirius XM. Flo & Eddie Inc. v. Sirius XM Radio Inc., No. 13-CV-5693-PSG-RZX,
 11   2014 WL 4725382, at *1 (C.D. Cal. Sept. 22, 2014). Pandora filed its first motion to
 12   strike Flo & Eddie’s claims under California’s anti-SLAPP statute, which the Court
 13   denied in 2016. Dkt. 22, 28.
 14         Pandora pursued an interlocutory appeal from the Court’s denial of its first
 15   anti-SLAPP motion in this action. The Ninth Circuit certified the California state law
 16   questions regarding public performance to the California Supreme Court, Pandora I,
 17   851 F.3d at 951, but the California Supreme Court later dismissed the certified
 18   questions. Pandora II, 789 F. App’x 569, 570 (9th Cir. 2019). Shortly afterward, the
 19   Ninth Circuit remanded for this Court to consider “[t]he scope of the MMA’s
 20   preemption clauses and their application here.” Id. Pandora’s MMA preemption
 21   defense is not at issue in this Motion.
 22         On remand, Pandora filed a second anti-SLAPP motion. The Court denied
 23   Pandora’s second anti-SLAPP motion on several independent grounds. Among other
 24   things, the Court held that Pandora had failed to address Flo & Eddie’s independent
 25   allegations of unlicensed copying. Dkt. 115 at 13. Pandora pursued another
 26   interlocutory appeal.
 27         Before the Ninth Circuit addressed the Pandora III appeal, the Ninth Circuit
 28   addressed whether California law recognizes an exclusive right of public
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  1   performance in pre-1972 recordings in Sirius (9th Cir.), 9 F.4th at 1176. This Court
  2   issued an opinion in Sirius (9th Cir.) on August 23, 2021, holding that owners of pre-
  3   1972 sound recordings do not have an exclusive right of public performance under
  4   California law.    The Sirius (9th Cir.) decision did not address allegations of
  5   unauthorized copying. 9 F.4th at 1176.
  6         After the Sirius (9th Cir.) decision, the Ninth Circuit affirmed the Court’s
  7   denial of Pandora’s second anti-SLAPP motion in this case. See Pandora III, 2022
  8   WL 1800780 at *2. In Pandora III, the Ninth Circuit concluded that Pandora had not
  9   met Prong One of the anti-SLAPP analysis and did not reach the merits of Flo &
 10   Eddie’s claims of unlawful copying. The Ninth Circuit directed this court to
 11   “consider expedited motions practice on the legal validity of Flo & Eddie’s claims in
 12   light of intervening precedent.” Id.
 13                                   LEGAL STANDARD
 14         Summary judgment is appropriate only “if the movant shows that there is no
 15   genuine dispute as to any material fact and the movant is entitled to judgment as a
 16   matter of law.” Fed. R. Civ. P. 56(a). “A ‘material’ fact is one that could affect the
 17   outcome of the case under the governing substantive law, and an issue of material
 18   fact is ‘genuine’ if ‘the evidence is such that a reasonable jury could return a verdict
 19   for the non[-]moving party.’” Bangkok Broad. & T.V. Co. v. IPTV Corp., 742 F.
 20   Supp. 2d 1101, 1109 (C.D. Cal. 2010) (cleaned up). “In determining whether a
 21   genuine issue of material fact exists, . . . the court must view the evidence in the light
 22   most favorable to the non-moving party, drawing all ‘justifiable inferences’ in its
 23   favor.” Id. (cleaned up).
 24                                        ARGUMENT
 25         Pandora’s third dispositive motion in this case fares no better than the first two.
 26   After the Sirius (9th Cir.) decision, this case is about Pandora’s unlicensed copying.
 27   There is no dispute that California grants owners of pre-1972 recordings, including
 28   Flo & Eddie, the exclusive right of reproduction. The only question is whether
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  1   Pandora can show, beyond a dispute of material fact, that its unauthorized
  2   reproductions of pre-1972 recordings were somehow excused as a matter of law. As
  3   explained below, the answer to that question is no.
  4   I.    PANDORA’S COPYING OF PRE-1972 RECORDINGS ESTABLISHES
  5         A PRIMA FACIE CASE FOR RELIEF.
  6         More than 50 years of California law establishes that for-profit copying of pre-
  7   1972 recordings is actionable. California law grants owners of pre-1972 recordings
  8   “exclusive ownership” of their recordings. Cal. Civil Code § 980(a)(2). This is an
  9   “an intangible property interest in the performances on tape from the time of their
 10   recording,” Lone Ranger Television, Inc. v. Program Radio Corp., 740 F.2d 718, 720
 11   (9th Cir. 1984). That property interest includes an “independent” right to prevent
 12   others from “duplicating [these recordings] without consent” for commercial gain.
 13   A&M Records, Inc. v. Heilman, 75 Cal. App. 3d 554, 564 (1977). The mechanism by
 14   which a bootlegger profits from pirated recordings is immaterial, and California’s
 15   anti-piracy statute, Penal Code § 653h, makes that clear. That statute, passed in 1968,
 16   prohibits unauthorized copying for profit—regardless of whether the profits come
 17   from selling bootleg recordings or from publicly performing those recordings. See
 18   Cal. Penal Code § 653h (1968) (West) (banning unauthorized copying of recordings
 19   “with intent to . . . be used for profit through public performance”). California courts
 20   have relied on § 653h repeatedly to explain that the right to make copies is one held
 21   by the owner of a sound recording under the common law. Capitol Records, Inc. v.
 22   Erickson, 2 Cal. App. 3d 526, 537 (Cal. Ct. App. 1969) (quoting Penal Code § 653h
 23   in describing common law property interest pre-1972 sound recordings); Heilman,
 24   75 Cal. App. 3d at 570 (citing Penal Code § 653h in holding that “recorded
 25   performances are . . . intangible personal property”). Unauthorized copying of pre-
 26   1972 sound recordings has long been actionable under the doctrines of conversion,
 27   misappropriation, and Civil Code § 980(a)(2). Erickson, 2 Cal. App. 3d at 537;
 28   Heilman, 75 Cal. App. 3d at 564; Long Ranger, 740 F.2d at 725.
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  1         Under this established body of statutory and common law, the record evidence
  2   of Pandora’s copying easily defeats summary judgment. Pandora’s admits that,
  3   during the damages period between 2011 and 2018, it made hundreds of copies of
  4   Flo & Eddie recordings. These include permanent “back up” and “archive” copies
  5   that Pandora made when it first ingested a recording into its systems, the litany of
  6   regional server copies Pandora maintained at its major server sites and regional server
  7   locations, and the temporary streaming copies created at users’ computers. F&E SGI
  8   Nos. 11-12, 14-15. Pandora did all of this for profit—from subscription fees or
  9   advertising revenue off of its service—yet acknowledges that it did not pay or obtain
 10   a license for its reproductions of pre-1972 recordings. Homer Ex. 1 (Norton Decl.
 11   ¶ 9); Nath Ex. 2 (Cohen Decl. ¶ 27). This is more than sufficient to establish a prima
 12   facie case that Pandora was “duplicating [these recordings] without consent” for
 13   commercial gain. A&M Records, Inc. v. Heilman, 75 Cal. App. 3d 554, 564 (1977).
 14         Pandora, in essence, acted as a high-tech bootlegger—and at least a reasonable
 15   juror could conclude as much. Pandora purchased pre-1972 recordings, copied them
 16   in California without a license, then profited by using those digital copies as part of
 17   its streaming service—making money through advertisements or subscription fees.
 18   The conduct alleged is indistinguishable from a bootlegger who bought the Happy
 19   Together album, made 1,000 bootleg physical copies in California, and then profited
 20   from playing those copies at music festivals across the country. The bootlegger
 21   profited directly from its unauthorized copying by expanding the geographic scale of
 22   its operations. Instead of just playing the single lawfully-purchased recording in a
 23   single venue, the bootlegger profited from playing 1,000 copies of the recording
 24   simultaneously at 1,000 venues. So too here. Pandora creation and dissemination of
 25   unauthorized digital copies of its music library to its various regional servers is what
 26   enabled it to stream that music simultaneously to user devices across California and
 27   the country. F&E SGI Nos. 18, 26, 40. Because California law’s express prohibition
 28   on unauthorized, for-profit copying applies equally to the low-tech bootlegging of
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  1   yesteryear and Pandora’s high-tech digital equivalent, a reasonable juror could easily
  2   find Pandora liable based on its admitted unauthorized copying of pre-1972
  3   recordings.
  4         Pandora places great emphasis on how it uses and profits from the bootleg
  5   copies of Flo & Eddie’s records—to facilitate public performance. But so what?
  6   Whatever a bootlegger does with its improperly obtained copies is irrelevant.
  7   Pandora cites no legal doctrine or authority—other than fair use, addressed infra 14-
  8   25—for its assertion that for-profit copying to facilitate public performance is
  9   somehow exempt from liability under California law. The right of reproduction
 10   broadly proscribes the “appropriat[ion] [of] artistic performances” to “profit thereby
 11   to the disadvantage of” the rightsholder. Erickson, 2 Cal. App. 3d at 537. There is no
 12   rigid limitation that those profits must always come from the sale of a recording as
 13   opposed to some other means of exploitation enabled by technological advances, like
 14   using the copies in a digital streaming service. Albion R. R. Co. v. Heeser, 84 Cal.
 15   435, 437 (1890) (“The great merit of the common law, so often commended by the
 16   jurists, is its plasticity as a system of principles (and not merely of rigid rules) which
 17   can be adapted to new conditions in the affairs of men”). Nor is there any special
 18   immunity for copies “appurtenant” to public performance (MOL at 23), as California
 19   law expressly prohibits unauthorized copying “for profit through public
 20   performance.” Erickson, 2 Cal. App. 3d at 537 (quoting Cal. Penal Code § 653h
 21   (1968)); Cal. Penal Code § 653 (prohibiting copying “for commercial advantage or
 22   private financial gain through public performance”).1 The record evidence of
 23   Pandora’s for-profit, unlicensed digital copying is more than sufficient to preclude
 24   summary judgment.
 25

 26

 27

 28   1
       Pandora’s incorrect claim that it qualifies for Penal Code 653h’s exemptions for
      “radio broadcasting” is addressed infra at 20-23.
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  1   II.   NO INTERVENING PRECEDENT EXTINGUISHES FLO & EDDIE’S
  2         COPYING CLAIMS.
  3         The Ninth Circuit’s mandate was for this Court to “consider expedited motions
  4   practice on the legal validity of Flo & Eddie’s claims in light of intervening
  5   precedent.” Pandora III, 2022 WL 1800780 at *2. The only “intervening precedent”
  6   since the Court’s denial of Pandora’s second anti-SLAPP was the Ninth Circuit’s
  7   Sirius (9th Cir.) decision. Pandora, however, barely addresses Sirius (9th Cir.), likely
  8   (and correctly) recognizing that the decision does not address the sole remaining
  9   claims at issue here—that is, claims of unauthorized copying. Instead, Pandora
 10   focuses its fire on Pandora I, arguing that the Ninth Circuit’s order certifying
 11   questions about public performance to the California Supreme Court extinguished
 12   any claims of unauthorized copying. This argument is easily rejected.
 13         Pandora I did not decide anything related to claims of unauthorized copying.
 14   In Pandora I, the Ninth Circuit certified to the California Supreme Court the question
 15   of whether owners of pre-1972 recordings “possess an exclusive right of public
 16   performance” under California law. Pandora I, 851 F.3d at 951. From the beginning
 17   to the end of the Court’s order, it is clear that the order is exclusively about questions
 18   of public performance—not unauthorized copying. The certified questions at the
 19   outset mentioned the “right of public performance,” but did not mention any claims
 20   of unauthorized copying. In the “Statement of Facts,” the court describes the lawsuit
 21   as seeking “damages against Pandora for publicly performing The Turtles pre-1972
 22   recordings on its services without paying royalties”—without any mention of
 23   allegations of unauthorized copying. Id. at 952. And the discussion of legal issues
 24   addresses, exclusively, whether California law protects pre-1972 recording owners
 25   “public performance” rights. Id. at 955-57. The exclusive focus on public
 26   performance is hardly surprising, considering that the order under review also
 27   exclusively addressed public performance rights under California law. Dkt. 28.
 28   Nothing in Pandora I decides the question that the Ninth Circuit in Pandora III
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  1   expressly left for this Court to decide: whether Pandora’s unauthorized copying of
  2   pre-1972 recordings violated California law.
  3         Pandora seizes on the statement in Pandora I that “[r]esolving these questions
  4   will dispose of this appeal and determine the merits of Flo & Eddie’s underlying
  5   claims.” 851 F.3d at 957. According to Pandora, this means that Pandora I impliedly
  6   held, as a matter of law, that the resolving the public performance issue is also
  7   dispositive of any claims of unauthorized reproduction—however framed and
  8   whatever facts underlying them. But that is a misapprehension of the law-of-the-case
  9   doctrine. The law-of-the-case doctrine “clearly does not extend to issues an appellate
 10   court did not address.” United States v. Cote, 51 F.3d 178, 181 (9th Cir. 1995) (cited
 11   in MOL at 10), as amended on denial of reh’g (June 2, 1995). Here, Flo & Eddie’s
 12   claims of unauthorized reproduction were never addressed by the Ninth Circuit in
 13   Pandora I. Indeed, they could not have been. Flo & Eddie’s current claims of
 14   unauthorized copying—as alleged in the First Amended Complaint—is based on fact
 15   and expert discovery conducted in 2020, three years after the Pandora I decision.
 16   Even if Pandora were correct that the Pandora I court intended to sub silentio address
 17   copying claims that it never mentioned (it did not), the court could not have addressed
 18   the current record, which includes evidence concerning the number and types of
 19   unauthorized reproductions and the harm that Pandora’s copying inflicted on the
 20   market for pre-1972 recordings. See Stacy v. Colvin, 825 F.3d 563, 567 (9th Cir.
 21   2016) (cited in MOL at 10) (“Given the new evidence on remand, the district court
 22   did not abuse its discretion in declining to apply the law of the case doctrine.”).
 23         None of Pandora’s cited cases support its argument here. Silva-Pereira v.
 24   Lynch, 827 F.3d 1176, 1191 (9th Cir. 2016), in fact, confirms that the law-of-the-case
 25   doctrine bars consideration of an issue only if “the issue in question” was “decided
 26   explicitly or by necessary implication.”2 Id. (emphasis added). Pandora admits, as it
 27   2
        Pandora’s other cited cases highlight the absurdity of Pandora’s position on
      Pandora I. In Barnes-Wallace v. City of San Diego, 704 F.3d 1067, 1076 (9th Cir.
 28   2012), the Ninth Circuit applied law of the case on a standing issue that was expressly
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  1   must, that Pandora I did not explicitly address Flo & Eddie’s copying claims. Nor
  2   did the court address the copying claims by “necessary implication,” which generally
  3   requires “an implication so strong in its probability that anything to the contrary
  4   would be unreasonable.” Silva-Pereira, 827 F.3d at 1191 (citing and quoting Black’s
  5   Law Dictionary (9th ed. 2020). That is far from the case here. At most, the Pandora
  6   I decision did not address the merits of any claims of unauthorized copying, but
  7   simply read Flo & Eddie’s original complaint to include only claims related to public
  8   performance. 3 That makes sense given that the decision describes the complaint, at
  9   that time, as seeking “damages against Pandora for publicly performing” pre-1972
 10   recordings, with no mention of copying claims, and it is also consistent with the
 11   court’s statements that the public performance issue was “dispositive” of Flo &
 12   Eddie’s underlying claims. But that original complaint has now been superseded by
 13   the FAC (Dkt. 141), and there is no question that the FAC raises claims of
 14   unauthorized copying. Pandora’s attempt to read in an unwritten decision on Flo &
 15   Eddie’s copying claims into Pandora I fails.
 16   III.   FLO & EDDIE’S COPYING CLAIMS STAND ALONE AND ARE NOT
 17          DEPENDENT ON A PUBLIC PERFORMANCE RIGHT
 18          Pandora argues that Flo & Eddie’s claims “cannot survive absent the public
 19   performance right.” Motion at 12. This assertion is, of course, heavily disputed. Flo
 20   & Eddie’s copying claim stands alone and by itself. The copying claim does not, as
 21   Pandora spins it, somehow turn on what a bootlegger does downstream with its ill-
 22   gotten bounty.
 23

 24   decided in a prior published opinion in the same case. In the unpublished decision in
      Arkansas Tchr. Ret. Sys. v. Mozilo, 551 F. App’x 327, 329 (9th Cir. 2013), the Ninth
 25   Circuit declined to revisit an issue of choice-of-law to which the parties had
      previously stipulated. United States v. Thrasher, 483 F.3d 977, 982 (9th Cir. 2007),
 26   did not involve certification order at all.
      3
        Pandora’s reference to California Rule of Court 8.548 is also unavailing. That rule
 27   permits certification where an issue “could determine the outcome of a matter
      pending in the requesting court.” (emphasis added). The California Supreme Court’s
 28   determination of the public performance issue in Flo & Eddie’s favor, of course,
      would have (and could have) determined the outcome of the appeal.
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  1         Each of the authorities Pandora relies on—including the Sirius XM New York
  2   and Florida decisions that Pandora repeats throughout its brief—were all decided as
  3   a matter of fair use. But Pandora cannot meet its burden to establish fair use as a
  4   matter of law under controlling California and Ninth Circuit authority for several
  5   reasons, each of which is detailed below.
  6         A.     Pandora Cannot Establish that Its Unauthorized Copying Is
  7                Fair Use As A Matter Of Law.
  8                1.    Disputed Factual Questions Over The Fair Use Factors Preclude
  9                      a Finding In Pandora’s Favor on Summary Judgment.
 10         Because fair use is an affirmative defense, Pandora bears the burden to show
 11   that its copying done for profit constitutes fair use as a matter of law. Dr. Seuss
 12   Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 451 (9th Cir. 2020). This it cannot
 13   do. The factual record establishes that, when viewed in the light most favorable to
 14   Flo & Eddie, as must be done on summary judgment, each fair use factor weighs
 15   against a fair use finding and, at a minimum, cannot be resolved in Pandora’s favor
 16   on summary judgment.
 17         A fair use analysis requires consideration of four factors: “(1) the purpose and
 18   character of the use, including whether such use is of a commercial nature or is for
 19   nonprofit educational purposes; (2) the nature of the copyrighted work; (3) the
 20   amount and substantiality of the portion used in relation to the copyrighted work as
 21   a whole; and (4) the effect of the use upon the potential market for or value of the
 22   copyrighted work.” People v. Szarvas, 142 Cal. App. 3d 511, 519 (Ct. App. 1983)
 23   (holding fair use defense did not apply to reproduction and reselling of sound
 24   recordings in violation of Penal Code § 653h). In evaluating whether particular
 25   conduct qualifies as fair use, “[a]ll four factors are to be explored and the results
 26   weighted together, in light of the purposes of copyright.” Dr. Seuss Enterprises, L.P.,
 27   983 F.3d at 451. Fair use is a “mixed question of law and fact.” Harper & Row
 28   Publishers, 471 U.S. at 560. Summary judgment on fair use is inappropriate where
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  1   material facts are in dispute. Furie v. Infowars, LLC, 401 F.Supp.3d 952, 976 (C.D.
  2   Cal. 2019) (“Weighing the four factors together, the Court cannot conclude as a
  3   matter of law, especially in light of numerous conflicting factual disputes, that
  4   Defendants are entitled to summary judgment on their defense of fair use.”). Pandora
  5   falls far short of its burden as the moving party here.
  6         Factor 1: Purpose and Character of the Use. This factor “asks whether and
  7   to what extent the new work is transformative.” A&M Records v. Napster, Inc., 239
  8   F.3d 1004, 1015 (9th Cir. 2001). The central question is “whether the new use
  9   essentially repeats the old or whether, instead, it ‘transforms’ it by infusing it with
 10   new meaning, new understandings, or the like.” UMG Recordings, Inc. v. MP3.Com,
 11   Inc., 92 F. Supp. 2d 349, 351 (S.D.N.Y. 2000). Because Pandora’s use “is
 12   commercial,” it is “presumptively [] unfair,” Disney Enterprises, Inc. v. VidAngel,
 13   Inc., 869 F.3d 848, 861 (9th Cir. 2017) (alterations omitted), though a showing of
 14   commercial use alone “is not dispositive of the first factor,” Google LLC v. Oracle
 15   Am., Inc., 141 S. Ct. 1183, 1204 (2021); see also A&M Records, 239 F.3d at 1015
 16   (“commercial use is demonstrated by a showing that repeated and exploitative
 17   unauthorized copies of copyrighted works were made to save the expense of
 18   purchasing authorized copies”).
 19         Under this standard, Pandora cannot establish (at all, and certainly not as a
 20   matter of law) that its unauthorized, for-profit copying is transformative. Pandora
 21   does not add any commentary, artistic expression, or other transformation to pre-
 22   1972 recordings. Pandora merely reproduces these recordings in digital formats onto
 23   its servers, avoiding the cost of purchasing additional digital copies, a use that courts
 24   have repeatedly held is non-transformative. A&M Records, 239 F.3d at 1015 (“Courts
 25   have been reluctant to find fair use when an original work is merely retransmitted in
 26   a different medium”); UMG Recordings, Inc. v. MP3.com, 92 F. Supp. 2d 349, 351
 27   (S.D.N.Y. 2000) (holding creating intermediate MP3 server reproductions was not
 28   fair use). In addition, “where [a party’s] use is for the same intrinsic purpose as the
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  1   copyright holder’s, such use seriously weakens a claimed fair use.” Worldwide
  2   Church of God v. Philadelphia Church of God, Inc., 227 F.3d 1110, 1117 (9th Cir.
  3   2000). Here, Pandora’s rote reproductions are used for the same purpose as Flo &
  4   Eddie’s—Pandora makes copies to distribute those copies to end users for musical
  5   entertainment. Cf. Kelly v. Arriba Soft Corp., 336 F.3d 811, 819 (9th Cir. 2003) (cited
  6   in OB 34 n.7) (“[R]eproducing music CDs in computer MP3 format does not change
  7   the fact that both formats are used for entertainment purposes.”); see e.g., F&E SGI
  8   No. 40 (confirming that Pandora copied pre-1972 recordings for the purpose of
  9   delivering its music service); MOL at 9. Because Pandora’s copies transform neither
 10   the work itself nor the purpose for its it is used, Pandora’s conduct cannot be deemed
 11   transformative as a matter of law.
 12         None of the cases on which Pandora support its position. Perfect 10 v.
 13   Amazon.com, Inc., 508 F.3d 1146, 1164 (9th Cir. 2007), involved the noncommercial
 14   caching of recently visited websites by end users’ computers for the purpose of
 15   minimizing bandwidth usage. That case is distinguishable, because it did not involve
 16   commercial, for-profit copying. Pandora also cites Sega Enterprises Ltd. v. Accolade,
 17   Inc., 977 F.2d 1510, 1522-23 (9th Cir. 1992), and Sony Computer Entertainment, Inc.
 18   v. Connectix Corp., 203 F.3d 596 (9th Cir. 2000), both cases involving the
 19   reproduction of computer code for the purpose of making creative works, i.e., making
 20   software compatible with video game consoles. Pandora, of course, cannot prove as
 21   a matter of law that it copies pre-1972 recordings to create new, creative works. None
 22   of Pandora’s cited cases undercut the common-sense proposition that creating exact
 23   digital replicas of a sound recording for profit is not a transformative use and
 24   therefore not fair use.
 25         Pandora’s failure to prove a transformative use is alone dispositive of its fair
 26   use defense on summary judgment because it undercuts the other factors of the
 27   analysis. Dr. Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d at 459 (“non-
 28   transformative and commercial use” is presumed “leads to cognizable market harm
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  1   of the original” (quotation marks omitted)). At a minimum, the factual inferences as
  2   to whether the mechanical, for-profit copying of Flo & Eddie’s recordings somehow
  3   transformed those recordings must be resolved against Pandora, and for that reason
  4   alone summary judgment must be denied. Furie, 401 F.Supp.3d at 974 (denying
  5   summary judgment on fair use defense where “disputed issues of fact” remained as
  6   to Factor 1).
  7         Factor 2: Nature of Copyrighted Work. Because “[w]orks that are creative in
  8   nature are ‘closer to the core of intended copyright protection’ than are more fact-
  9   based works,” this factor “cuts against a finding of fair use.” A&M Recs., 239 F.3d
 10   at 1017. Similarly, the fact that Pandora copies pre-1972 recordings wholesale—not
 11   some portion of the work—also weighs against a finding of fair use. A&M Recs., 239
 12   F.3d at 1016 (“copying an entire work ‘militates against a finding of fair use”
 13   (quotation marks omitted)).
 14         Pandora misrepresents Sega in arguing that this factor weighs in favor of a fair
 15   use. MOL at 23. In Sega, the court held that the copy of a computer code was fair use
 16   under the longstanding doctrine that certain types of works—namely, works like
 17   computer code that are “functional”—“may be copied,” even if such copying
 18   includes reproductions of the “expressive elements” of the work. Sega, 977 F.2d at
 19   1524. That finding has no relevance here, as Pandora identifies no “functional”
 20   element of the fixation of sounds that Flo & Eddie owns under California law. The
 21   Flo & Eddie sound recordings at issue, by contrast, are by nature the type of creative
 22   musical work that forms the core of copyright protection and for which the second
 23   factor weighs against a fair use finding. A&M Recs., 239 F.3d at 1017.
 24         Factor 3: Amount and Substantiality Used. The Ninth Circuit has held that
 25   “copying an entire work militates against a finding of fair use.” A&M Recs., 239 F.3d
 26   at 1016 (cleaned up). Pandora copies Flo & Eddie sound recordings in their entirety,
 27   and thus this factor serves as another reason why Pandora cannot establish its fair use
 28   defense as a matter of law. Pandora’s sole argument to the contrary depends on its
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  1   erroneous assertion that its rote reproduction of pre-1972 recordings is
  2   transformative, addressed supra 15-17.
  3         Factor 4: Effect on the Market. The effect-on-the-market factor is fatal to
  4   Pandora’s Motion. “Fair use, when properly applied, is limited to copying by others
  5   which does not materially impair the marketability of the work which is copied.” Id.
  6   The effect on the market is “the single most important element of fair use.” Harper
  7   & Row Publishers, 471 U.S. at 566. “[T]o negate fair use one need only show that if
  8   the challenged use should become widespread, it would adversely affect the potential
  9   market for the copyrighted work.” Id. at 568. On the other hand, a proponent of fair
 10   use “would have difficulty carrying the burden of demonstrating fair use without
 11   favorable evidence about relevant markets.” Campbell, 510 U.S. at 590. Summary
 12   judgment on a fair use defense is inappropriate where there is conflicting evidence
 13   regarding the market harm. See, e.g., Furie, 401 F. Supp. 3d at 975.
 14         Pandora offers not a shred of evidence on this factor. It may try to do so on
 15   reply for the first time, but that would be new and the argument is waived. Trahan v.
 16   Clayton Dublier & Rice, 741 F. App’x 397, 399 (9th Cir. 2018) (“[A]s this argument
 17   was first raised in her Reply Brief, it is waived.”). This failure of proof, by itself,
 18   defeats Pandora’s attempt to prove fair use as a matter of law. Flo & Eddie’s expert
 19   Prof. Daniel Spulber opines that Pandora’s copying caused market harm in two
 20   distinct ways. First, Pandora’s unauthorized copies deprived Flo & Eddie of the right
 21   to operate in the market of selling additional copies for Pandora—or other similarly
 22   situated streaming companies—to maintain on its servers and stream to listeners.
 23   F&E SGI No. 40-41; Nath Ex. 1 (Spulber Decl. ¶¶ 24-26). Second, Pandora’s for-
 24   profit copying—without which Pandora claims its streaming would be impossible—
 25   has negatively impacted the sale of both CD and digital copies of Flo & Eddie sound
 26   recordings. F&E SGI No. 42; Nath Ex. 1 (Spulber Decl. ¶¶ 27-32). As Prof. Spulber
 27   opines based on historical market data, Pandora’s noninteractive service—enabled
 28   by its reproduction and dissemination of pre-1972 recordings across the country—
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  1   displaced record sales, in part because Pandora’s streaming service allowed users to
  2   target narrower, more customizable streams of recordings than one could access via
  3   traditional (or even satellite) radio. F&E SGI No. 36-38, 42.
  4         Pandora, for its part, makes zero effort to meet its burden as the moving party
  5   on this factor. Citing Sirius II (NY), Pandora argues that “there is significant reason
  6   to believe” that its streaming service is beneficial to Flo & Eddie (and other sound
  7   recording owners) because its service may “generate[] interest” in artists’ works.
  8   MOL at 24 (emphasis added). But a “reason to believe” a fact is not evidence of it.
  9   Indeed, Pandora’s Separate Statement of Uncontroverted Facts includes nothing
 10   about the market harm factor. Dkt. 158. Pandora’s failure to provide any evidence
 11   concerning the “single most important element of fair use” is dispositive, and even
 12   more so in light of the evidence that Pandora’s copying caused market harm to Flo
 13   & Eddie and other owners of pre-1972 recordings. Harper & Row, 471 U.S. at 566.
 14                2.     California Penal Code § 653h Precludes A Fair Use Finding In
 15                       Pandora’s Favor.
 16         Pandora cannot establish that its copying was fair use under California law for
 17   another reason: The California legislature has expressly criminalized the copying of
 18   pre-1972 recordings to facilitate for-profit public performance. Cal. Penal Code
 19   § 653h (prohibiting copying “for commercial advantage or private financial gain
 20   through public performance”). In other words, the California legislature has flatly
 21   rejected the entire premise of Pandora’s Motion—that is, that if public performance
 22   is legal, then copying to facilitate that public performance must also be legal. The
 23   Penal Code § 653h was enacted in 1968, at a time when—under the Ninth Circuit’s
 24   recent decision in Sirius (9th Cir.)—owners of pre-1972 recordings had no right of
 25   public performance under California law. Nevertheless, California made no mistake:
 26   While a business could lawfully perform a pre-1972 recording, it could not make
 27   copies of those same recordings to facilitate its for-profit performances. Such conduct
 28   in California is criminal, and therefore not fair use.
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  1          In an effort to evade Penal Code § 653h, Pandora seeks refuge in an exception
  2   designed to protect traditional radio and television broadcasters. MOL at 19-21. That
  3   exception, originally codified in former § 653h(d), excepts from liability “any person
  4   engaged in radio or television broadcasting” who reproduces a sound recording
  5   “intended for, or in connection with, broadcast transmission or related uses.” Cal.
  6   Penal Code § 653h(d) (1968) (emphasis added). But Pandora does not qualify as a
  7   “radio broadcaster”—either today or when Penal Code § 653h was enacted in 1968.
  8   As a matter of common sense, broadcasting involved the widespread delivery of a
  9   the same stream of programming over the airwaves to the broader public. Unlike
 10   radio or television, Pandora does not “broadcast” anything to the public. It delivers
 11   private, bespoke collections of music to users on their individual devices.4
 12          When the California legislature wrote the term “radio broadcasting” in Penal
 13   Code § 653h in 1968, that term had a specific meaning: the transmission of sound
 14   using over-the-air radio waves. See, e.g., Webster’s New World Dictionary 90 (1966)
 15   (defining “broadcast”: “to send over the air by means of radio.” (emphasis added)).
 16   Since 1934, “radio” broadcasting was synonymous with a highly regulated industry
 17   subject to the FCC licensing regime established by the Communications Act of 1934.
 18   Pub. L. 73–416, 48 Stat. 1064 (1934); 47 U.S.C. § 301 (generally prohibiting
 19   “transmission of energy or communications or signals by radio” except by license).
 20   This licensing regime for “radio” specifically governed the use of frequencies over
 21   the airwaves, and thus applied to forms of over-the-air radio (e.g., AM/FM radio).
 22   See, e.g., Red Lion Broad. Co. v. F.C.C., 395 U.S. 367, 376–77 (1969) (“[B]roadcast
 23   frequencies constituted a scarce resource whose use could be regulated and
 24   rationalized only by the Government. . . .[T]he Federal Radio Commission was
 25

 26   4
        Pandora’s 10-k from 2012 confirmed precisely how narrowly tailored—and
      different from radio broadcasting—Pandora’s streaming service experience was:
 27   “Unlike traditional radio, we enable each of our listeners to create up to 100
      personalized stations. . . . When a listener enters a single song, artiest or genre to start
 28   a station . . . the Pandora service instantly generates a station that plays music we
      think that listener will enjoy.” Nath Ex. 3 (Pandora’s 10-k at 3).
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  1   established to allocate frequencies . . .” (emphasis added)). Because internet
  2   streaming services (like Pandora’s) do not operate by using frequencies over the
  3   airwaves, they are not regulated as “radio” broadcasters for the simple reason that
  4   they are not radio broadcasters, as that term has been understood for over a century.
  5   If Pandora were engaged in “radio broadcasting” within the meaning of § 653h, its
  6   streaming service would be regulated as a radiobroadcasting service and be subject
  7   to FCC licensing. But it isn’t.
  8           Furthermore, federal copyright law has, for decades, treated radio broadcasting
  9   and internet streaming as two entirely separate things. Since 1996, federal copyright
 10   law included special exemptions for “broadcast transmissions,” i.e., FCC-licensed
 11   radio, but those exemptions are unavailable for internet streaming services like
 12   Pandora. Bonneville Int'l Corp. v. Peters, 347 F.3d 485, 495 (3d Cir. 2003) (holding
 13   that “webcasting does not meet the definition of a ‘nonsubscription broadcast
 14   transmission’” and therefore is not eligible for radio broadcasting exemptions under
 15   § 114(d)(1)(A)). This is for good reason: Traditional radio was geographically
 16   limited and had a historically symbiotic relationship with the recording industry,
 17   while digital streaming risked “mak[ing] sound recordings vulnerable to exposure to
 18   a vast audience through the initial sale of only a potential handful of records.”
 19   Bonneville Intern. Corp., 347 F.3d at 497 (quoting 141 Cong. Rec. 1292 (1995)). The
 20   internet did not exist in 1968, but the California legislature at that time would have
 21   understood streaming to be distinct from radio broadcasting for the same reasons
 22   Congress did years later—streaming is not just different physically (over-the-internet
 23   vs. over-the-air), but different in its capacity to compete with and displace record
 24   sales. Indeed, Pandora has publicly emphasized its competitive advantages, as an
 25   internet streamer, over broadcast radio. Nath Ex. 3 at 3. And even though the
 26   California legislature has amended Penal Code § 653h multiple times since the rise
 27   of internet streaming—including as recently as 2011 5—it has never expanded the
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      5
          See 2011 Cal. Legis. Serv. Ch. 15 (A.B. 109) (WEST).
                                                22
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  1   radio-broadcasting exemption to include services like Pandora’s. Pandora’s argument
  2   that it is eligible for the radio-broadcasting exemption under § 653h is therefore
  3   meritless.
  4         Pandora’s cited authorities only highlight the weakness in its position. The
  5   legislative history Pandora relies on merely confirms that the legislature intended to
  6   exclude the “radio . . . industry” from liability under Penal Code § 653h. Pandora was
  7   not part of the radio industry in 1968, nor, as explained above, is Pandora treated as
  8   radio broadcaster under federal law today. Pandora also cites Sirius II (Fla.), 229 So.
  9   at 320, which addresses a similar radio-broadcaster exemption under Florida law. But
 10   the defendant in that case was Sirius XM, which, unlike Pandora, is and was an over-
 11   the-air broadcaster subject to the FCC licensing regime. Nor is Pandora’s attempt to
 12   make hay of Flo & Eddie’s references “internet radio” of any relevance. Penal Code
 13   § 653h’s exemption applies only “radio broadcasting” that involves “broadcast
 14   transmissions.”6 As Pandora admitted in its own 10-k, “[b]roadcast radio” is distinct
 15   from “internet radio.” Nath Ex. 3 at 7 (“We compete for listeners with broadcast
 16   radio providers . . . . Broadcast radio pays no royalties for its use of sound
 17   recordings,” while “internet radio providers” do. (emphasis added)).
 18         Lastly, Pandora relies the two-page decision in iHeartMedia, Inc. v. Sheridan,
 19   300 Ga. 771, 772 (2017). In that case, the Georgia Supreme Court concluded that
 20   iHeartMedia’s streaming service qualified as related to a “radio broadcast
 21   transmission” largely because the “user experience” for iHeartMedia listeners was
 22   virtually identical to the “user experience” for broadcast radio. Id. 773. But that was
 23   because iHeartMedia delivered “the exact programming offered by its terrestrial
 24   radio stations over the Internet”—i.e., a carbon copy of an AM/FM radio broadcast.
 25   Id. Pandora does not do that. Indeed, Pandora has repeatedly advertised how the user
 26   experience for its service is dramatically different than for traditional radio. Infra 20
 27
      6
       In re Pandora Media, 6 F. Supp. 3d 317, 328 (S.D.N.Y. 2014), similarly, at most,
 28   concludes that Pandora is a noninteractive service for the purposes of determining
      federal royalty payments.
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  1   n.4; F&E SGI Nos. 36-37, 42. In any event, Sheridan is neither controlling nor
  2   persuasive. The court interpreted the phrase “broadcast transmission” using factors
  3   like “user experience,” without any attempt to discern the plain meaning of the term
  4   in its historical and industry context. Sirius XM (9th Cir.), 9 F.4th at 1173 (“[S]ome
  5   phrases have a separate or more specialized ‘term of art’ meaning that cannot be
  6   stripped away from its historical context or subject matter area”).
  7         The absence of any applicable exemption from Penal Code § 653h is fatal to
  8   Pandora’s Motion. Because California Penal Code § 653h establishes that the precise
  9   conduct at issue—the copying of recordings “for profit through public
 10   performance”—violates California law, Pandora’s fair use defense fails.
 11                3.    Pandora’s Fair Use Arguments Contradict The Longstanding
 12                      Federal Statutory Scheme.
 13         Aside from the Sirius cases, all of the fair-use cases on which Pandora relies
 14   interpret the federal statutory scheme. But even in the federal context 17 U.S.C. §
 15   112 establishes that the legal right to publicly perform a sound recording is separate
 16   from the right to make reproductions of the recordings for the purpose of public
 17   performance. Congress created two separate licenses: one for transmissions (i.e.,
 18   performances), under 17 U.S.C. § 114(d), and one for reproductions created to
 19   facilitate those performances, under § 112(e)(1), which sets strict limits on the
 20   number and types of copies one can make. The limits on permissible reproductions
 21   under § 112(e) are dead letter if Pandora’s argument is correct that 17 U.S.C. § 107,
 22   governing fair use, already conclusively established the legality of all reproductions
 23   made to facilitate public performance. Because both California and federal statute
 24   specifically proscribe the conduct at issue here, Pandora’s fair-use argument fails.
 25         B.     The SiriusXM New York And Florida Decisions Are Not
 26                License To Bypass The Four-Factor Fair Use Analysis.
 27         Pandora also invokes two out-of-circuit decisions from other Flo & Eddie
 28   lawsuits against Sirius XM cases interpretating New York and Florida law. MOL at
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  1   12-16, 17-18. These cases are equally irrelevant. The Second Circuit’s decisions in
  2   Sirius I (NY)., 821 F.3d 265, 271 (2d Cir.), and Sirius II (NY), 849 F.3d 14 (2d Cir.
  3   2017), summarily decided that Sirius XM’s internal copies created in the course of
  4   delivering its satellite radio service were fair use under New York law, without
  5   applying or considering any of the relevant fair use factors. Sirius I (NY), 821 F.3d at
  6   270 n.4. That decision is distinguishable because New York law, unlike California’s,
  7   did not explicitly protect sound recording owners’ exclusive right of reproduction
  8   “for profit through public performance.” Cal. Penal Code § 653h. These distinctions
  9   aside, the court’s fair use conclusion is also wrong, and its failure to address the four-
 10   factor analysis cannot be squared with the law of this circuit. Dr. Seuss Enterprises,
 11   L.P., 983 F.3d at 451 (“[a]ll four factors are to be explored and the results weighted
 12   together”)
 13         The Florida Supreme Court’s decision in Sirius II (Fla.) is also distinguishable.
 14   That court held that Sirius XM’s buffer and back-up copies of pre-1972 recordings
 15   created fell within an exception for “radio broadcast transmissions” in Florida’s anti-
 16   piracy statute. 229 So. 3d at 307. The parties did not dispute that Sirius XM’s
 17   activity—over-the-air satellite broadcasting—qualified as a “radio broadcast
 18   transmissions.” As explained above, Pandora does not deliver its service via
 19   frequencies over the airwaves, and therefore cannot qualify for the parallel exception
 20   in Penal Code § 653h. Supra 20-23.
 21         The Sirius New York and Florida cases are distinguishable for another reason.
 22   In neither case did the record contain evidence as to Factor 4 of the fair use analysis,
 23   i.e., the effect of the use on the market or potential market for the works. That is not
 24   the case here, at least for Flo & Eddie. As explained above, Flo & Eddie have shown
 25   that Pandora’s copying undercuts a market for selling permanent copies to Pandora
 26   (and other streaming services) and displaced pre-1972 record sales. This evidence on
 27   “the single most important element of fair use” is distinguishes the Sirius New York
 28   and Florida cases. Harper & Row, 471 U.S. at 566.
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  1
      Dated: January 13, 2023           SUSMAN GODFREY L.L.P.
  2                                     KALPANA SRINIVASAN
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